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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

KASIM KURD et. al.                            )
                                              )
plaintiffs                                    )
                                              )
v.                                            )       Civil Action No. 1:18-cv-1117-CKK
                                              )
REPUBLIC OF TURKEY et. al.                    )
                                              )
defendants.                                   )

       SUPPLEMENTAL REPSONSE IN SUPPORT OF MOTION TO QUASH

        COMES NOW, Mutlu Civiroglu, through his attorney, and files this supplemental response

in support of his Motion to Quash in response to this court’s order dated November 12, 2024.

        The federal courts have consistently held that neither the First Amendment nor federal

common law provides an absolute privilege for journalists to refuse to disclose confidential sources,

particularly in the context of grand jury investigations and criminal proceedings. In Branzburg v.

Hayes, 408 U.S. 665 (1972) the Supreme Court explicitly rejected the creation of a First

Amendment-based reporter's privilege in the context of grand jury proceedings. The DC Circuit also

has held that the First Amendment privilege protecting journalists from disclosing their sources in

grand jury investigations, and any federal common law privilege that may exist is not absolute and

can be overridden by a compelling interest. In re Grand Jury Subpoena (Miller), 397 F.3d 964, 989

D.D.C 2005).

        Fed. Civil Rule 501 [of the Federal Rules of Evidence] does not instruct a federal court on

which law of privilege to use when the case involves a federal question and a state law claim

pursuant to supplemental jurisdiction. Every circuit that has dealt with this issue has held that the

federal law of privilege applies. See, e.g., Hancock v. Hobbs, 967 F.2d 462, 467 (11th

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Cir.1992); Hancock v. Dodson, 958 F.2d 1367, 1373 (6th Cir.1992); von Bulow v. von

Bulow, 811 F.2d 136, 141 (2d Cir.), cert. denied, 481 U.S. 1015, 107 S. Ct. 1891, 95 L. Ed. 2d

498 (1987); Thompson Co. v. General Nutrition Corp., Inc., 671 F.2d 100, 104 (3rd

Cir.1982); Memorial Hospital for McHenry County v. Shadur, 664 F.2d 1058, 1061 n. 3 (7th

Cir.1981). Furthermore, the legislative history of Rule 501 supports the use of the federal law of

privilege when a federal question and a state claim are combined in the same action. The Senate

Report accompanying Rule 501 states that "[i]t is also intended that the Federal law of privileges

should be applied with respect to pendent State law claims when they arise in a Federal question

case." S.Rep. No. 1277, 93rd Cong., 2d Sess. (1974), reprinted in, 1974 U.S.C.C.A.N. 7051,

7059 n. 16.

       However, in this case there is no federal question that relates to the essence or heart of the

plaintiff’s tort claims. This case does not include any federal claims against Yildrim or the other

defendants, either civil or criminal. It only involves claims under DC laws. The 21 grand jury

indictments against defendant Yildirim and all the other defendants in this civil case only included

charges of violations of various sections of Title 22 of D.C. Code. There are no violations of federal

laws in the grand jury indictments against the defendants. The plaintiffs rely on the Alien Tort

Statute, more commonly known as Torture Victim Protection Act of 1991 28 U.S.C. § 1350 and the

Foreign Sovereign Immunities Act 28 U.S.C. 1330, 1605(a) for personal and subject matter

jurisdiction in the District of Columbia. However, both statutes are jurisdictional and venue statutes.

        The Alien Tort statute provides that if an individual acting within the scope of their

employment subjects another individual to torture, then that person shall, in a civil action, be subject

to liability for damages to that victim. Acts of Torture are broadly defined under 28 USC § 1350(3)b

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to include the actions by the defendants in this case. The statute is silent regarding the issues on how

federal law or state law applies to the elements of a specific tort, or whether the privilege protecting a

journalist from being compelled to disclose under federal statutory and common law should apply

when the privilege under state law differs.

        Outside of federal grand jury proceedings, the District of Columbia's statutory reporter's

privilege, as codified in the § 16-4701 et. seq. does not conflict with any similar privilege created by

federal common law or the First Amendment. This court follows the federal case law and has

consistently held that the D.C. statute provides a specific protection for journalists against

compulsory disclosure of their sources in the context of gathering news information by applying

specific guidelines Wen Ho Lee v. United States Department of Justice, 413 F.3d 53, 401 F. Supp.

2d 123, (D.D.C. 2005).

        Under federal common law and the First Amendment of the U.S Constitution, the D.C.

Circuit has held that the First Amendment confers on the news media a qualified privilege against

compelled disclosure. This court recognizes a qualified privilege under the First Amendment to

protect journalists and reporters from compelled disclosure of information, which they have obtained

as part of their news gathering role. Zerilli v. Smith, 656 F.2d 705, 711 n.39, 211 U.S. App. D.C.

116 (D.C. Cir. 1981) ("The Supreme Court explicitly acknowledged the existence of First

Amendment protection for news gathering," citing Branzburg v. Hayes, 408 U.S. 665, 681, 707, 92

S. Ct. 2646, 33 L. Ed. 2d 626 (1972) (emphasizing that "news gathering is not without its First

Amendment protections.")).

        In Carey v. Hume, 492 F.2d 631, U.S. App. D.C. 365 (D.C. Cir. 1974) the plaintiff filed a

civil suit for libel. The court found that disclosure may be compelled “In cases where [monetary]

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recovery is justified, the amount of damage, which depends upon the degree of malice, would be

much more difficult, if not impossible to assess…”. Carey v. Hume, 492 F.2d 631, 640 (D.C. Cir.

1974). The constitutional privilege “does not convey an absolute immunity to the press to publish

libelous information that it receives and then protect itself and the source by exercising a

privilege that prevents the victim from proving the malicious intent of the source or publisher. The

constitutional privilege contemplates a responsible press. Carey v. Hume, 492 F.2d 631, 640-41

(D.C. Cir. 1974). The court also stated “The decisional process with respect to the constitutional

issue before it, involves a determination of "whether the interest to be served by compelling the

testimony of the witness in the present case justifies some impairment of this First Amendment

freedom.” Id at 634. Although the court noted impinging on press freedom should be limited and a

journalist should only be compelled to disclose their news gathering information as a last resort after

pursuit of other opportunities have failed and the request to disclose relates to the essence of the

case. Id.

       In Hutira v. Islamic Republic of Iran, 211 F. Supp. 2d 115 (D.D.C. 2002), plaintiff filed a

lawsuit and alleged that the defendants "order[ed]" and "arrang[ed] for" the assassination of her

father, Ali Tabatabai, who at the time of his death was a dissident of the Iranian government living in

the United States. Tabatabai was reportedly murdered at his Bethesda, Maryland home in 1981 by

Daoud Salahuddin, who allegedly acted at the direction of and received material support from the

Iranian government. Similar to the facts in this case, the defendants, despite being properly served

with process, failed to enter an appearance in this matter and a default judgment was entered against

the defendants. On August 25, 1996, The Washington Post published an article written by Ottaway

entitled "The Lone Assassin." The article chronicled the gruesome details of Tabatabai's

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assassination, including the involvement of the Iranian government. Hutira served subpoenas on

David Ottaway, a non-party and reporter for the Washington Post. Mr. Ottoway filed a Motion to

Quash Deposition and Document Subpoenas. The court noted that Hutira had requested the

subpoenas in order to obtain evidence that was central to her claim or right to relief. Id., 211 F. Supp.

2d 115, 117 (D.D.C. 2002). The court denied the motion to quash the subpoenas and held that the

requested information related to evidence the requester needed to prove her case and it went to the

essence of the litigation. Disclosure may be compelled “In order to obtain evidence establishing her

claim or right to relief that is satisfactory to the Court” Hutira v. Islamic Republic of Iran, 211 F.

Supp. 2d 115, 117 (D.D.C. 2002).

       The reporter's privilege stems from recognition of the "preferred position of the First

Amendment" in our society and "the importance of a vigorous press." Zerilli, 656 F.2d. at 712.

Courts have minimized impositions upon the press, particularly when burdens may have a chilling

effect on a reporter's ability to investigate and gather news. Carey, 492 F.2d at 639 (courts are

instructed to "always be alert to the possibilities of limiting impingements upon press freedom to the

minimum."). Nevertheless, a reporter's "privilege is not absolute and may be abrogated upon a

sufficient showing by the party seeking the information." Hutira, 211 F. Supp. 2d at 118; Peck v.

City of Bos. (In re Slack), 768 F. Supp. 2d 189, 193 (D.D.C. 2011).

       Although, the D.C. Circuit has recognized a qualified reporter's privilege under federal

common law and the First Amendment in civil cases, it has also held that the qualified privilege can

be overcome by the party requesting disclosure showing a compelling interest in the disclosure.

Zerilli v. Smith, 656 F.2d 705, (D.C. Cir. 1981). The case law in the D.C. Circuit show that the

historically, the main inquiry the courts apply is whether the requested information is central, the

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essence, or goes to the heart of the litigation. The courts recognize that the qualified privilege is not

absolute and requires a balancing of interests, on a case-by-case basis, between the compelling need

for disclosure and the public interest in protecting journalistic sources.

        “The First Amendment guarantees a free press primarily because of the important role it can

play as a ‘vital source of public information.’ . . . But the press’ function as a vital source of

information is weakened whenever the ability of journalists to gather news is impaired. Compelling

a reporter to disclose the identity of a source may significantly interfere with [the press’] news

gathering ability.” Zerilli v. Smith, 656 F.2d 705, 710-11. Compelling Civiroglu to produce

information and testify about his participation in social media chats after the May 16, 2017 attacks

will have a chilling effect on journalists participation in social media chat groups as a modern

information and news gathering business practice by journalists. In Zerilli, appellants Zerilli and

Polizzi filed suit against employees of the Department of Justice claiming his privacy rights were

violated. He argued that the government violated their constitutional, statutory, and privacy rights by

leaking to the Detroit News newspaper transcripts of conversations in which appellants discussed

various illegal activities. Zirilli and Polizzi subpoenaed the testimony of the reporter to identify the

source who leaked the information to the reporter.

       When a party in a civil action seeks to subpoena a non-party journalist, the holding in the

Zerilli case requires this court to apply the two guidelines test for balancing First Amendment

privilege against the litigant's need for information. First, the requested information must go to "the

heart of the matter" and not merely be marginally relevant. Id, 656 F.2d at 713. Second, the plaintiff

must have exhausted "every reasonable alternative source of information" so that journalists are not

simply a default source of information for plaintiffs. Id. The court concluded in Zerilli that a

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qualified privilege does apply. The court denied the motion to compel discovery and granted

summary judgment to the government and the Court of Appeals affirmed. The court also recognized

the First Amendment’s protection of a journalist’s sources is consistent with the protection of the

Free Flow of Information Act D.C. Code §§ 16-4701 et seq. and weighed the interest in compelling

disclosure.

        In Lee v. Dep’t of Justice, 413 F.3d 53, 59-60 (D.C. Cir. 2005) the court also applied the two

guideline test developed in the Zirelli case. In Lee, the plaintiff was under investigation for allegedly

leaking sensitive nuclear technology to the People’s Republic of China. The Court found that

plaintiff Lee had met both guidelines from the Zirelli case to overcome the journalists' qualified

privilege. The court held that the information was clearly central to the case since the information

published by the journalist was the same information that was being used to investigate and

prosecute Lee. Id. 413 F.3d 53, 59-60.

        In Peck v. City of Boston, (In re Slack), 768 F. Supp. 2d 189 (D.D.C. 2011) underscores the

importance of the 2nd guideline in test developed in the Zirelli case. In Peck, the reporter established

that she was entitled to assert the reporter's privilege in response to the street performer’s subpoena

for the reporter's deposition testimony to confirm information originally reported in the reporter's

newspaper story. The court held in Peck, that the street performer, who requested the disclosure, had

not made a sufficient showing to overcome application of that privilege to protect the reporters

source information. The court held that while the reporter's testimony regarding the size of the

restricted performance area was central to his case, the street performer's general descriptions of his

discovery efforts were insufficient to sustain his burden to show that alternative sources for the

information were unavailable. Id. at 190.

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       In a recent case, Yanping Chen vs Federal Bureau of Investigation, Case No. 18-cv-3074,

(D.D.C. Aug. 17, 2023) the plaintiff sued under a privacy law for information leaked to Fox News

regarding a criminal investigation by the Federal Bureau of Investigation (FBI) concerning plaintiff.

This court applied the same two-element test from the Zirelli case and held that Chen’s need for the

requested evidence overcame the journalist’s qualified First Amendment privilege and that it would

be improper for the Court to circumvent that precedent by fashioning a wider common law privilege.

In Chen, the plaintiff was under investigation by the FBI for reporting false information on her

immigration application and other alleged espionage conduct. An FBI agent gave the FBI’s

PowerPoint presentation to a reporter who later published that same information. Although the

reporter at Fox News was not a party to the litigation, the reporter was required to disclose their

source who leaked the information to the reporter because the information sought by the subpoena

was central to the criminal investigation of Chen and the article published the same information that

was the basis for the investigation against her.

       Like the journalists in the Zirelli and Lee cases, Civiroglu is a non-party in this case.

However, unlike the Lee and Chen cases, Defendant Eyup Yildririm, as the party requesting

disclosure, has not satisfied either of the two guidelines established by this court in Zirelli. Under

Zirelli, Yildirim must satisfy both elements before requesting this court to compel disclosure from

Civiroglu regarding his activities and communications in social media chat groups after the May 16,

2017 attacks at Sheridan Circle. Yildirim seeks to depose Civiroglu along with the other plaintiffs as

part of an exploratory effort. Yildirim is interested in what Civiroglu was saying, reading, or

responding to in social media chat groups and will assess afterwards if the information they collect is

relevant or useful to their case in some manner. The reasons defendant Eyup Yildirim asserts for

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seeking to depose Civiroglu and subpoena documents stated in their Opposition to the Motion to

Quash do not go to the essence of this tort case. The information Yildirim seeks is only marginally

relevant and does not go to the heart of this personal injury case regarding causation, liability, and

damages. Defendant Yildirim also fails to satisfy the second requirement that the requesting party

must exhaust "every reasonable alternative source of information" so that Civiroglu is not simply a

default source of information for open ended and unrelated intelligence gathering by the Republic of

Turkey. If plaintiffs participated in the same chat groups as Civiroglu, then Yildirim may obtain the

same information he seeks by first taking depositions from all the plaintiffs. Civiroglu was not

present at Sheridan Circle on May 16, 2017, he did not witness any of the allegations in the

complaint and has no relationship to the elements of causation, intent, liability, or damages relating

to the assault and battery torts. In this case, the plaintiffs seek money damages from a foreign state

for personal injuries suffered by a brutal physical attack that occurred in the District of Columbia and

caused by the tortious act or omission of the Republic of Turkey and its officials or employees acting

within the scope of their office or employment.

       Although Fed. Civ Rule 45(c) allows Yildirim to go on a fishing expedition by subpoenaing

Civiroglu, the lake needs to contain fish, the requester must first try to catch fish from other existing

known lakes where he has the authority to fish, and the subpoena needs to be fashioned at the right

angle to catch any fish in the lake where the requester wants to fish. Yildirim has failed to meet his

burden to justify his pursuit of disclosure in accordance with the two guidelines outlined in Zirelli.

       Because of the importance of First Amendment interests, courts have required the party

requesting disclosure to make an effort to obtain the desired information from "other sources"

before permitting the requesting party to overcome the journalist's privilege. See In re

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Roche, 448 U.S. 1312, 101 S. Ct. 4, 65 L. Ed. 2d 1103 (1980) (where plaintiff was required to

first depose individuals from among 65 witnesses was held sufficient to stay compelling

disclosure form journalist); Zerilli, 656 F.2d at 714; Carey v. Hume, 160 U.S. App. D.C. 365,

492 F.2d 631 (D.C. Cir.), cert. denied, 417 U.S. 938, 94 S. Ct. 2654, 41 L. Ed. 2d 661 (1974)

(suggesting that the taking of 60 depositions is a reasonable prerequisite prior to compelling

disclosure).

       The District of Columbia's statutory reporter's privilege, as codified in the § 16-4701 et.

seq. does not conflict with any analogous privilege created by federal common law or the First

Amendment. There are no federal claims in this case. The D.C. statute provides a specific

protection for journalists against compulsory disclosure of their sources in the context of news

gathering Lee v. DOJ . To overcome a qualified reporter's privilege under the First Amendment

and federal case law in a civil case, the party requesting disclosure must show a compelling

interest in the disclosure from a journalist and the party requesting disclosure must exhaust every

reasonable alternative source of information, as in cases like Zerilli v. Smith; Peck v. City of

Boston (In re Slack); Lee v. DOJ.

       Therefore, the District of Columbia's statutory reporter's privilege, as codified in the § 16-

4701 - § 4703 offers specific protections within its jurisdiction. It does not conflict with the more

limited and qualified privileges recognized under federal common law and the First Amendment.

Civiroglu is entitled to the protection of his First Amendment rights and the protections of the

District of Columbia's statutory reporter's privilege, as codified in the § 16-4701 et. seq because

Yildirim has failed to show a compelling interest in the requested information, the information

sought is not central nor does it go to the heart of this personal injury tort litigation, and the

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Yildirim may obtain the requested information from other sources that the defendant is currently

pursuing through discovery with the parties to this litigation.


                              Respectfully submitted,
                              MUTLU CIVIROGLU
                              By Counsel


                /s/
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 26, 2024, I caused a copy of this Supplemental
Repsonse In Support of Motion to Quash on all counsel of record via the Court’s electronic
system.

                                            /s/
                                      Jacob D. Bournazian, Esq.




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